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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 22-CR-20104-BECERRA

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 WALTER VEINTEMILLA,

       Defendant.


           DEFENDANTS’ MOTION TO TAKE JUDICIAL NOTICE

       Defendants, Walter Veintemilla, Antonio Intriago, James Solages, Christian

 Sanon, and Arcangel Pretel Ortiz, move pursuant to Fed. R. Evid. 201 for an Order

 taking judicial notice of the Haitian indictment related to the killing of President

 Moises. Moreover, we specifically ask the Court to take judicial notice of the fact

 that (1) on January 17, 2024 fifty-one individuals were indicted in Haiti for the

 murder of President Jovenel Moises; (2) that the wife of President Moises, Martine

 Moises was one of the individuals charged; and (3) that Walter Veintemilla, Antonio

 Intriago, James Solages, Christian Sanon, and Arcangel Pretel Ortiz were not
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 charged with the murder of President Moises in the indictment in Haiti. A copy of

 the Indictment and a translation is attached hereto as Exhibit A 1.

                                          Introduction

        It is well known and documented that President Moises was killed in his home

 in Haiti. However, why he was killed and who is responsible are widely disputed.

 In fact, there are multiple well investigated theories as to who carried out the killing

 and why it occurred. One theory is what has been advanced by the United States

 government in the instant prosecution. However, the theory that was investigated

 and advanced in Haiti is very different than that posited here, as are theories reported

 by reputable investigative journalists. Indeed, after interviewing seventy individuals

 and traveling to all ten administrative departments in Haiti, the New York Times

 (“The Times”) reported that the murder was tied to a list President Moise was

 compiling for the United States of powerful politicians and businesspeople involved

 in drug trafficking.2 Notably, the Times reported that President Moise’s killers

 ransacked his home after his death–presumably in search of the list.3 Like the

 investigation conducted by the New York Times, many other journalists have

 conducted independent investigations and advanced theories regarding the killing



 1
   To avoid expenditure of funds, a certified translation will not be requested until the Court rules
 on this motion.
 2
   Abi-Habib, Haiti’s Leader Kept a List of Drug Traffickers. His assassins came for it., New York
 Times, Dec. 12, 2024.
 3
   This information was reported following an interview with Martine Moises.
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 that are inconsistent with the theory advanced by the United States government in

 the instant case.4

        The multiple theories surrounding the President Moise’s death, most of which

 are inconsistent with the government’s case, raise doubt regarding the government’s

 theory of prosecution. As such these theories are relevant and probative of various

 defense theories. The Indictment brought by Haiti is particularly probative because

 it is based on interviews, information, and evidence gathered by Haitian authorities

 who have access to witnesses and evidence not available in the United States. And

 the fact of the Indictment demonstrates Haiti’s strong interest in the prosecution of

 the charged offenses, which took place entirely on Haitian soil.

        Specifically, we ask that the Court take judicial notice of the fact that (1) on

 January 17, 2024 fifty-one individuals were indicted in Haiti for the murder of

 President Jovenel Moises; (2) that the wife of President Moises, Martine Moises was

 one of the individuals charged; and (3) that Walter Veintemilla, Antonio Intriago,

 James Solages, Christian Sanon, and Arcangel Pretel Ortiz were not charged with

 the murder of President Moises in the indictment in Haiti. Notably, we are not asking



 4
   See e.g., Lemaire, Sandra, “American Dan Whitman Denies Any Involvement in Haiti Coup
 Attempt, The Americas, Feb. 8, 2021 (noting that American Dan Whitman, a former United States
 Foreign Service Officer and State Department employee, has been implicated, denies involvement
 in the murder of the president); Charles, Jacqueline and Weaver, Jay, “Plots, Subplots, and Betrayal
 Engulfed Haiti’s President Before His Assassination”, The Miami Herald, Feb. 21, 2024 (reporting
 that the five Columbians were serving an arrest warrant on President Moises, not there to kill him,
 and intimating that President already dead when they arrived).
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 the Court to take judicial notice of the allegations contained in the Haitian

 indictment, just the fact of the Indictment and who is charged (and not charged).

                                     Argument

       Under Rule 201(c)(2) courts shall take judicial notice of adjudicative facts if

 requested by a party and supplied with the necessary information. “The court may

 judicially notice a fact that is not subject to reasonable dispute because it (1) is

 generally known within the trial court’s territorial jurisdiction or (2) can be

 accurately and readily determined from sources whose accuracy cannot reasonably

 be questioned.” Fed. R. Evid. 201(b). “The court may take judicial notice at any

 stage of the proceeding.” Fed. R. Evid 201(d)

       The publicly filed Haitian indictment of which Defendants seek judicial notice

 easily meets the test enunciated in Rule 201. “Writers generally agree that courts

 can take judicial notice of court records under Rule 201(b)(2).” Wright & Miller,

 21B Fed. Prac. & Proc. Evid. § 5106.4 (2d ed. June 2024 update). And the Eleventh

 Circuit has routinely approved taking judicial notice of court records, which

 conclusively establish the fact and circumstances of the prior court proceeding. See,

 e.g., Williams v. Dep’t of Corr., 824 F. App’x 914, 917 (11th Cir. 2020) (holding

 that court was correct in “taking judicial notice of online state court dockets” and

 that “the dates contained” there “constitute judicially noticeable facts”); Paez v.

 Sec’y, Fla. Dep’t of Corr., 947 F.3d 649, 651 (11th Cir. 2020) (explaining that
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 “[s]tate court records” “generally satisfy” Section 201(b)(2)’s requirements); Griffin

 v. Verizon Commc’ns Inc., 746 F. App’x 873, 876 (11th Cir. 2018) (“Courts typically

 take judicial notice of record documents from other judicial proceedings.”);

 McDowell Bey v. Vega, 588 Fed. App’x 923, 926 (11th Cir. 2014) (affirming a district

 court’s decision to take judicial notice of the “Clerk’s docket in the underlying

 criminal case”); Lozman v. City of Riviera Beach, 713 F.3d 1066, 1076 (11th Cir.

 2013) (taking judicial notice of “court documents from [a] state eviction action”).

       Further, Rule 201 does not draw a distinction between “domestic” facts and

 “foreign” facts. Thus, in U.S. v. Garland, 991 F.2d 328 (6th Cir. 1993), the Sixth

 Circuit took judicial notice of a criminal judgment in Ghana against Ghanian

 citizens, explaining:

       The Ghanian judgment is admissible in evidence to prove that it was
       rendered and as prima facie evidence of the facts adjudicated. . . . Rule
       201 applies to judicial notice of “adjudicative facts.” We judicially
       notice the criminal judgment in Ghana and its existence as an official
       statement usable in evidence of the facts stated. We do not judicial
       notice the truth of the statements contained in the Ghana judgment
       because some of these facts may remain in dispute. What is not in
       dispute between the parties is the existence of the judgment and the fact
       that the Ghana criminal court has made detailed findings of fact on
       issues relevant to the case at hand.

  Id. at 332-33 (internal citations omitted); see also Sprague & Rhodes Commodity

 Corp. v. Instituto Mexicano del Café, 566 F.2d 861, 862 (2d Cir. 1977) (“Rule 201 of

 the Federal Rules of Evidence permits this court to take judicial notice of judgments
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 of [foreign] courts of record even though the fact is presented for the first time on

 appeal.”).

       A court’s ability to take judicial notice of foreign facts is in no way limited to

 foreign judgments, however. See, e.g., Namo v. Gonzales, 401 F.3d 453, 458 (6th

 Cir. 2005) (judicially noticing the fall of Saddam Hussein’s regime in

 Iraq); Weizmann Institute of Science v. Neschis, 229 F. Supp. 2d 234, 244-248

 (S.D.N.Y. 2002) (judicial notice proper for documents filed in Lichtenstein

 arbitration that were not included in the filed complaints); P&E Shipping Corp. v.

 Banco Para El Comercio Exterior de Cuba, 307 F.2d 415, 418 (1st Cir. 1962) (“We

 may take judicial notice of the fact that the Cuban government nationalized Cuban

 foreign trade on April 25, 1960, by the creation of a Bank of Foreign Commerce to

 be the sole importer and exporter of products for the national interest of Cuba.”)

 (abrogated on other grounds, Banco Nacional de Cuba v. Sabbatino, 376 U.S. 398

 (1964)). Because we merely seek judicial notice of the fact of the Indictment and

 the individuals charged, and more notably not charged, this request is proper.

       WHEREFORE,           for   the    reasons    stated   above,     the   Defendants

 Walter Veintemilla, Antonio Intriago, James Solages, Christian Sanon, and Arcangel

 Pretel Ortiz respectfully request that the Court take judicial notice of the fact that (1)

 on January 17, 2024 fifty-one individuals were indicted in Haiti for the murder of

 President Jovenel Moises; (2) that the wife of President Moises, Martine Moises was
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 one of the individuals charged; and (3) that Walter Veintemilla, Antonio Intriago,

 James Solages, Christian Sanon, and Arcangel Pretel Ortiz were not charged with

 the murder of President Moises in the indictment in Haiti.

            LOCAL RULE 88.9 CERTIFICATE OF CONFERRAL

       Counsel for Mr. Veintemilla conferred with government counsel, Andrea

 Goldberg, who advised the government opposes the requested relief.

 Dated: August 1, 2024                 Respectfully submitted,


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                          CERTIFICATE OF SERVICE

       I HEREBY CERIFY that a copy of the foregoing has been served on all

 counsel of record electronically by utilizing CM/ECF or via electronic mail.

                                       By: /s/ Marissel Descalzo
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